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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. CASE NO. 8:20-cr-206-TPB-AEP

MUHAMMED MOMTAZ AL-AZHARI

PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the United States of America, by
Roger B. Handberg, United States Attorney for the Middle District of Florida,
and the defendant, Muhammed Momtaz Al-Azhari, and the attorneys for the
defendant, Samuel E. Landes and Adam B. Allen, mutually agree as follows:

A. Particularized Terms

1. Count Pleading To
The defendant shall enter a plea of guilty to Count One of the
Indictment. Count One charges the defendant with attempting to provide

material support and resources to a foreign terrorist organization, in violation of

18 U.S.C. § 2339B(a)(1).

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2. Maximum Penalties
Count One is punishable by a maximum term of imprisonment of
twenty (20) years, a fine of up to $250,000, a term of supervised release of any term
of years or life, and a special assessment of $100. With respect to certain offenses,
the Court shall order the defendant to make restitution to any victim of the offense,
and with respect to other offenses, the Court may order the defendant to make
restitution to any victim of the offense, or to the community, as set forth below.
3. Elements of the Offense
The defendant acknowledges understanding the nature and elements
of the offense with which defendant has been charged and to which defendant is
pleading guilty. The elements of the offense alleged in Count One are:

First: The Defendant knowingly attempted to provide material
support or resources to the designated foreign terrorist
organization named in the indictment; and

Second: The Defendant did so knowing that the organization was
a designated terrorist organization, engaged or engages in
terrorist activity, or engaged or engages in terrorism.

A. Counts Dismissed
At the time of sentencing, the remaining counts against the

defendant in the Indictment, Counts Two through Three, will be dismissed

pursuant to Fed. R. Crim. P. 11(c)(1)(A).

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5. No Further Charges

If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge the
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement,
related to the conduct giving rise to this plea agreement.
6. Incarceration Limitations
Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the United States and the
defendant agree that the appropriate disposition of the case is a sentence of
imprisonment of 216 months. In the event that the Court does not accept this
agreement of the parties as to the term of imprisonment, then the defendant shall
be permitted to withdraw his guilty plea. Likewise, if the Court does not accept
this agreement of the parties as to the term of imprisonment, then the United
States shall be permitted to declare the plea agreement void and continue its
prosecution of the defendant.
7. Forfeiture of Assets
The defendant agrees to forfeit to the United States immediately and
voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 18 U.S.C. § 981(a)(1)(G) and 28 U.S.C. § 2461(c), whether

in the possession or control of the United States, the defendant, or the defendant's

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nominees. The assets to be forfeited specifically include, but are not limited to: (a)
all assets of the defendant, foreign or domestic; (b) all assets of the defendant
acquired or maintained with the intent and for the purpose of supporting,
planning, conducting, or concealing any federal crime of terrorism; and (c) all
assets of the defendant derived from, involved in, or used or intended to be used
to commit any federal crime of terrorism; as well as the following property which
was involved in the offenses, including but not limited to, approximately
$1,352.73 seized from Bank of America account number XXXXXXXX6523, held
the name of Muhammed Alazhari.

The defendant agrees and consents to the forfeiture of these assets
pursuant to any federal criminal, civil, judicial, or administrative forfeiture action.
The defendant also acknowledges that the Federal Bureau of Investigation
administratively forfeited the following property because he did not file a claim
contesting the forfeiture:

a. $297.18 in United States currency from the person of
Muhammed Momtaz Al-Azhari;

b. $300.00 in United States currency;

Cc. A SilencerCo Osprey silencer, serial number OSP9M-5489;

d. A Glock 17 pistol, serial number EZT996US, with
accompanying magazines;

e. A black knife in army green sheath;

f. A Milwaukee insulation knife;

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A Milwaukee knife and black blade cover/sheath;
A Razor Tactical red/black pocket knife;
A DeWALT folding pocket knife;
A black tactical stun gun;
82 rounds Ramset .22 caliber (Mastershot, Triggershot,
Hammershot) powder loads;
A small black crossbow (no make/no model);
A Razor Tactical folding pocket knife;
A black Under Armour backpack;
A Walther UZI .22-caliber rifle, serial number W1002377;
26 rounds of .22 ammunition;
A Butt Stock with green sling/strap;
44 rounds of Frontier Luger 9mm ammunition in Hornady;
box;
A SCCY Industries CPX-1 CB Pistol, serial number 492782;
A Glock G-17 9mm pistol, no serial number;
A suppressor (no make or model);
An extended magazine;
An Apple iPhone 6s, IMEI: 356141096454113; and
An LG Premier Pro LTE, serial number GPLML413DCG8.

Furthermore, the defendant expressly consents to the administrative forfeiture of

the above assets and agrees not to challenge the forfeiture.

The defendant also agrees to waive all constitutional, statutory and

procedural challenges (including direct appeal, habeas corpus, or any other

means) to any forfeiture carried out in accordance with this Plea Agreement or

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the completed administrative forfeitures on any grounds, including that the
forfeiture described herein violated his Fifth Amendment rights, constitutes an
excessive fine, was not properly noticed in the charging instrument, addressed by
the Court at the time of the guilty plea, announced at sentencing, or incorporated
into the judgment.

If the United States seeks the forfeiture of specific assets pursuant to
Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time it is
entered. In the event the forfeiture is omitted from the judgment, the defendant
agrees that the forfeiture order may be incorporated into the written judgment at
any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property to
the United States before the defendant’s sentencing. To that end, the defendant
agrees to make a full and complete disclosure of all assets over which defendant
exercises control directly or indirectly, including all assets held by nominees, to
execute any documents requested by the United States to obtain from any other
parties by lawful means any records of assets owned by the defendant, and to
consent to the release of the defendant’s tax returns for the previous five years.

The defendant further agrees to be interviewed by the government, prior to and

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after sentencing, regarding such assets and their connection to criminal conduct.
The defendant further agrees to be polygraphed on the issue of assets, if it is
deemed necessary by the United States. The defendant agrees that Federal Rule
of Criminal Procedure 11 and USSG §1B1.8 will not protect from forfeiture assets
disclosed by the defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the defendant’s
sentencing. In addition to providing full and:complete information about
forfeitable assets, these steps include, but are not limited to, the surrender of title,
the signing of a consent decree of forfeiture, and signing of any other documents
necessary to effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as satisfaction
of any fine, restitution, cost of imprisonment, or any other penalty the Court may
impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the Plea Agreement, the defendant may be
found ineligible for a reduction in the Guidelines calculation for acceptance of
responsibility and substantial assistance, and may be eligible for an obstruction of

justice enhancement.

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The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding the
abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including any agreed forfeiture amount, is collected in
full.

- B. Standard Terms and Conditions

 

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to
or in lieu of any other penalty, shall order the defendant to make restitution to
any victim of the offense, pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant to
make restitution to any victim of the offense, pursuant to 18 U.S.C. § 3663,
including restitution as to all counts charged, whether or not the defendant enters
a plea of guilty to such counts, and whether or not such counts are dismissed
pursuant to this agreement. The defendant further understands that compliance
with any restitution payment plan imposed by the Court in no way precludes the

United States from simultaneously pursuing other statutory remedies for

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collecting restitution (28 U.S.C. § 3003(b)(2)), including, but not limited to,
garnishment and execution, pursuant to the Mandatory Victims Restitution Act,
in order to ensure that the defendant=s restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. The special assessment
is due on the date of sentencing.

The defendant understands that this agreement imposes no
limitation as to fine.

2. Supervised Release

The defendant understands that, per the agreement of the parties
under Fed. R. Crim. P. 11(c)(1)(C), the offense to which the defendant is pleading
provides for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release,
the defendant would be subject to a further term of imprisonment. The defendant
further understands that this agreement imposes no limitation as to imposition of

a term of supervised release, including any term of years or life pursuant to 18

U.S.C. § 3583(j).

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon

conviction, a defendant who is not a United States citizen may be removed from

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the United States, denied citizenship, and denied admission to the United States
in the future.
A, Sentencing Information
The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant factual
information, including the totality of the defendant's criminal activities, if any,
not limited to the count to which defendant pleads, to respond to comments made
by the defendant or defendant's counsel, and to correct any misstatements or
inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case,
subject to any limitations set forth herein, including Fed. R. Crim. P. 11(c)(1)(C).
5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United States
Attorney's Office within 30 days of execution of this agreement an affidavit
reflecting the defendant's financial condition. The defendant promises that
his/her financial statement and disclosures will be complete, accurate and truthful
and will include all assets in which he/she has any interest or over which the

defendant exercises control, directly or indirectly, including those held by a

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spouse, dependent, nominee or other third party. The defendant further agrees to
execute any documents requested by the United States needed to obtain from any
third parties any records of assets owned by the defendant, directly or through a
nominee, and, by the execution of this Plea Agreement, consents to the release of
the defendant's tax returns for the previous five years. The defendant similarly
agrees and authorizes the United States Attorney's Office to provide to, and
obtain from, the United States Probation Office, the financial affidavit, any of the
defendant's federal, state, and local tax returns, bank records and any other
financial information concerning the defendant, for the purpose of making any
recommendations to the Court and for collecting any assessments, fines,
restitution, or forfeiture ordered by the Court. The defendant expressly authorizes
the United States Attorney's Office to obtain current credit reports in order to
evaluate the defendant's ability to satisfy any financial obligation imposed by the
Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor
bound by this agreement. The Court may accept or reject the agreement, or defer
a decision until it has had an opportunity to consider the presentence report
prepared by the United States Probation Office. The defendant understands and

acknowledges that, although the parties are permitted to make recommendations

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and present arguments to the Court, the sentence will be determined solely by the
Court, with the assistance of the United States Probation Office. However,
because this plea agreement is being entered into pursuant to Fed. R. Crim. P.
11(c)(1)(C), if the Court rejects the parties’ agreement as to the sentence of
imprisonment pursuant to Section A.6, then the defendant shall be permitted to
withdraw from his guilty plea. Likewise, if the Court does not accept the plea
agreement, then the United States shall be permitted to declare the agreement
void and continue its prosecution of the defendant.

7. Defendant's Waiver of Right to Appeal the Conviction and Sentence

The defendant agrees that this Court has jurisdiction and authority

to impose any sentence up to the statutory maximum and expressly waives the
right to appeal defendant's conviction and sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground that
the sentence exceeds the defendant's applicable guidelines range as determined by
the Court pursuant to the United States Sentencing Guidelines; (b) the ground
that the sentence exceeds the statutory maximum penalty; (c) the ground that the
sentence violates the Eighth Amendment to the Constitution; or (d) the ground
that the sentence differs from the sentence of imprisonment agreed to by the

United States and the defendant pursuant to Fed. R. Crim. P. 11(c)(1)(C) and

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Section A.6 of this agreement; provided, however, that if the government
exercises its right to appeal the sentence imposed, as authorized by 18 U.S.C.
§ 3742(b), then the defendant is released from his/her waiver and may appeal the
sentence as authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
It is further understood that this agreement is limited to the Office of
the United States Attorney for the Middle District of Florida and cannot bind
other federal, state, or local prosecuting authorities, although this office will bring
defendant's cooperation, if any, to the attention of other prosecuting officers or
others, if requested.
9. Filing of Agreement
This agreement shall be presented to the Court, in open court or in.
camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant's attorney and without promise of benefit of any kind (other than the

concessions contained herein), and without threats, force, intimidation, or

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coercion of any kind. The defendant further acknowledges defendant's
understanding of the nature of the offense or offenses to which defendant is
pleading guilty and the elements thereof, including the penalties provided by law,
and defendant's complete satisfaction with the representation and advice received
from defendant's undersigned counsel (if any). The defendant also understands
that defendant has the right to plead not guilty or to persist in that plea if it has
already been made, and that defendant has the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses
against defendant, the right against compulsory self-incrimination, and the right
to compulsory process for the attendance of witnesses to testify in defendant's
defense; but, by pleading guilty, defendant waives or gives up those rights and
there will be no trial. The defendant further understands that if defendant pleads
guilty, the Court may ask defendant questions about the offense or offenses to
which defendant pleaded, and if defendant answers those questions under oath,
on the record, and in the presence of counsel (if any), defendant's answers may
later be used against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are felonies,
may thereby be deprived of certain rights, such as the right to vote, to hold public

office, to serve on a jury, or to have possession of firearms.

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11. Factual Basis
The defendant is pleading guilty because the defendant is in fact
guilty. The defendant certifies that defendant does hereby admit that the facts set
forth below are true, and were this case to go to trial, the United States would be

able to prove those specific facts and others beyond a reasonable doubt.

FACTS

From at least as early as on or about March 29, 2020, and
continuing until on or about May 24, 2020, the defendant, MUHAMMED
MOMTAZ AL-AZHARI, attempted to provide material support and resources to
a foreign terrorist organization (“FTO”), namely, the Islamic State of Iraq and al-
Sham (“ISIS”). At all relevant times, ISIS was designated as an FTO under
federal law. Additionally, at all relevant times AL-AZHARI knew that ISIS was a
designated FTO and that ISIS has engaged in, and was then engaging in, terrorist
activity and terrorism.

AL-AZHART is a United States citizen who spent most of his life
abroad and came to embrace dogmatic, Islamist/Salafist beliefs. In or around
2015, AL-AZHARI was convicted of advocating for Jaysh al-Islam, an armed
Islamist group then participating mm the Syrian conflict, in Saudi Arabia. AL-
AZHARI spent approximately three years in Saudi Arabian custody, after which

he was removed to the United States.

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Upon AL-AZHARI’s arrival to the United States in or around
December 2018, the Federal Bureau of Investigation (“FBI”) began investigating
him for potentially providing material support to an FTO. In or around April
2020, AL-AZHARI began to plan to carry out an attack in support of ISIS.
Around the same time, AL-AZHARI began to acquire multiple firearms. AL-
AZHARI also researched and scouted potential locations in the Tampa Bay area.
Since at least May 2019, AL-AZHARI also consumed ISIS propaganda and
spoke favorably about ISIS, to whom he eventually pledged his-allegiance
through a bay’ah (an Islamic oath of allegiance). Furthermore, AL-AZHARI
spoke about avenging the United States’ imprisonment of Muslims, including
ISIS fighters, and the United States’ military actions in the Middle East. In
addition, AL-AZHARI rehearsed parts of the plan described above, including
practicing statements that he would make during, or in connection with, the plans
described above in support of ISIS.

AL-AZHARI was the subject of a variety of court-authorized
surveillance and collection between late April and May 2020. AL-AZHARI also
had multiple, recorded interactions with an FBI undercover employee (“UC-1”)
and a confidential human source (“CHS-1”) during that period. AL-AZHARI
tried to buy guns from UC-1, including a fully automatic rifle, but he was arrested

on unrelated state charges while negotiating the purchase. AL-AZHARI

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thereafter met CHS-1, attempted to “convert” CHS-1 to Islam, and AL-AZHARI
confided in CHS-1 about his (AL-AZHARI’s) affiliation with ISIS and the plans
described above to provide material support to ISIS, as well as to send money to
ISIS. AL-AZHARI also recruited CHS-1 to help him in connection with the plans
described above in support of ISIS, as well as robberies, and asked CHS-1 to
obtain a Glock pistol, serial number EZT996US, and an unregistered silencer,
serial number serial number OSP9M-5489. Agents arrested AL-AZHARI when
he took possession of the gun and silencer on May 24, 2020.

As detailed above, between March 29, 2020, and May 24, 2020, AL-
AZHARI attempted to provide material support—namely, personnel (including
himself) and services—to ISIS.

Federal law enforcement has seized various assets and items of
property that AL-AZHARI acquired during this period, including all of those
listed in Section A.7 of this agreement. AL-AZHARI acquired and maintained
these assets with the intent and for the purpose of supporting, planning,
conducting, or concealing any federal crime of terrorism. Additionally, such
assets were derived from, involved in, or used or intended to be used to commit a

federal crime of terrorism.

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12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and
no other promises, agreements, or representations exist or have been made to the
defendant or defendant's attorney with regard to such guilty plea.

13. Certification

The defendant and defendant’s counsel certify that this plea

agreement has been read in its entirety by (or has been read to) the defendant and

that defendant fully understands its terms.

DATED this | 3 t4 day of Febvin arg, 2023

ROGER B. HANDBERG

 

 

United States Attorney
Muhammed Momtaz AL-Azhari Patrick D. Series
Defendant Assistant UnitedStates Attorney

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“Samuel E. Landes ~~ Cherie L. Krigsman }
Attorney for Defendant Assistant United States Attorney

Ac Chief, National Security Section

Adam B. Allen
Attorney for Defendant

 

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